                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:14-00090
                                                 )           JUDGE CAMPBELL
WILLIAM FOSTER                                   )


                                             ORDER

       Pending before the Court is the Defendant’s Motion In Limine (Docket No. 630), seeking

to prohibit the Government from introducing as evidence at trial a “U-Pass Synthetic Urine Kit”

seized from the Defendant’s automobile on May 17, 2014. The Government has filed a

Response (Docket No. 651), indicating that it does not intend to introduce the item in its case in

chief. Accordingly, the Motion is DENIED, as moot.

       It is so ORDERED.

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                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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